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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JULIE PREDMORE, individually     §
and on behalf of similary situated
                                §
individuals,                     §
                                 §
                 Plaintiff,      §
                                 §
vs.                              § CIVIL ACTION NO. 3:20-cv-00513-X
                                 §
NICK’S MANAGEMENT, INC.,         § COLLECTIVE ACTION
NICK’S CLUBS, INC. f/k/a         § JURY DEMANDED
ADVENTURE PLUS ENTERPRISES, §
INC. d/b/a PT’S MEN’S CLUB, and  §
NICK MEHMETI,                    §
                                 §
                 Defendants.     §
__________________________________________________________________

 DEFENDANTS’ MOTION TO DISMISS AND/OR STAY THIS ACTION AND
     TO COMPEL ARBITRATION INCLUSIVE OF BRIEF IN SUPPORT
__________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

      NICK’S MANAGEMENT, INC., NICK’S CLUBS, INC. f/k/a ADVENTURE

PLUS ENTERPRISES, INC. d/b/a PT’S MEN’S CLUB, and NICK MEHMETI

(collectively, “Defendants”) files this their Motion to Dismiss and/or Stay this Action

and to Compel Arbitration (“Motion”) in response to Plaintiff’s Collective Action


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Complaint [ECF Doc. No. 1] (the “Complaint”). In support of the Motion, Defendants

would show the Court:

                                        I. SUMMARY

       1.      This action must be dismissed and Plaintiff compelled to arbitration

because Plaintiff entered into an enforceable agreement waiving not only her right to

participate in a class action, but also the right to resolve all disputes arising during

Plaintiff’s relationship with “PT’s Men’s Club” through arbitration. Therefore,

Defendants move to dismiss the Complaint and compel arbitration.

       2.      On February 13, 2019, Plaintiff Julie Predmore signed and entered into

an agreement entitled the License and Lease Agreement (the “Predmore Licensing

Agreement”). On January 4, 2019, Svetlana Kuzenko-Smetana entered into an

identical License and Lease Agreement (the “Kuzenko-Smetana Licensing

Agreement”) (collectively, the “Licensing Agreement”).1 In short, paragraph 22 of

the Licensing Agreements contain both an enforceable arbitration provision (the

       1
          A true and correct copy of the Predmore Licensing Agreement and the Kuzenko-Smetana
are attached to the Declaration of Todd Williams as Exhibits 1 and 2, respectively, and are
incorporated as if fully set forth herein. Though the date of execution of the Licensing
Agreement is after the period alleged in the Complaint that Plaintiff provided services for
Defendants, the law is clear that such provisions may be given retroactive effect (Norton v.
Tucker Entertainment, LLC, No. 3:14-cv-01490-G, ECF Doc. No. 15, Memorandum Opinion
and Order, PageID 244-46) (citations omitted). See the Todd Williams Affidavit at ¶6. Plaintiff
has sued the incorrect entities and not the proper entity that actually owns and operates the club
that is the subject of this action.
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“Arbitration Provision”) and class action waiver (the “Class Action Waiver”).2

Plaintiff simply cannot file a lawsuit to resolve this dispute and certainly cannot

consent to or assert a class action in this Court. The subject Arbitration Provision of

the Licensing Agreement and Collective Action Waiver state, in pertinent part, as

follows:

           22.    ARBITRATION/WAIVER OF CLASS AND
                  COLLECTIVE ACTIONS/ATTORNEY FEES AND
                  COSTS

           The parties agree that this Agreement is subject to binding
           arbitration pursuant to the Federal Arbitration Act (the “FAA”),
           and any disputes under this Agreement as well as any disputes
           that may have arisen at any time during the relationship between
           the parties, will be governed and settled by an impartial
           independent arbitrator appointed by the American Arbitration
           Association (the “AAA”), Texas branch....

           THE PARTIES WAIVE ANY RIGHT TO LITIGATE SUCH
           CONTROVERSIES, DISPUTES, OR CLAIMS IN A COURT
           OF LAW, AND WAIVE THE RIGHT TO TRIAL BY
           JURY...

           LICENSEE UNDERSTANDS AND ACKNOWLEDGES
           THAT BY SIGNING THIS AGREEMENT, HE/SHE
           SPECIFICALLY WAIVES THE RIGHT TO PARTICIPATE
           IN ANY CLASS ACTION OR COLLECTIVE ACTION AND
           IF AT ANY TIME LICENSEE IS DEEMED A MEMBER OF


       2
        See the Licensing Agreements, attached to the Williams Affidavit at Exhibits 1 and 2,
respectively, at ¶22.
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             ANY CLASS CREATED BY ANY COURT IN ANY
             PROCEEDING, SHE WILL “OPT OUT” OF SUCH CLASS
             AT THE FIRST OPPORTUNITY, AND SHOULD ANY
             THIRD PARTY PURSUE ANY CLAIMS ON HER BEHALF
             LICENSEE SHALL WAIVE HER RIGHTS TO ANY SUCH
             RECOVERY.3

        3.     Notwithstanding the clear language of the applicable provisions, Plaintiff

has decided she can simply ignore the Arbitration Provision, ignore the Class Action

Waiver and all other provisions of the binding Licensing Agreement between Plaintiff

and PT’s Men’s Club in hopes of obtaining a windfall. Unfortunately for Plaintiff,

the law is clear as to the enforceability of the Arbitration Agreement and Class Action

Waiver. Upon the application of the two-step analysis used to evaluate arbitration

agreements, the Court is left with no other options but to compel arbitration and

dismiss or stay this case while the arbitrator decides.

                            II. LAW AND AUTHORITIES

A.      Standard of Review for Motion to Compel Arbitration

        4.     The Fifth Circuit recognizes and applies a liberal policy that favors the

enforceability of arbitration agreements.4           In determining whether to compel



        3
        See the Licensing Agreements, attached to the Williams Affidavit at Exhibits 1 and 2,
respectively, at ¶22.
        4
       Reyna v. International Bank of Commerce, 839 F. 3d 373, 377-89 (5th Cir. 2016).
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arbitration, the court applies a two-step inquiry: (1) determining whether the parties

agreed to arbitrate the specific dispute in question and (2) if so, whether legal

constraints external to the parties’ agreement foreclose the arbitration claims.5 The

allegations and dispute is squarely within the bounds of the broad Arbitration

Provision and arbitrating FLSA disputes is not barred by a federal or statutory policy.

Accordingly, compelling arbitration not only proper, but required under 9 U.S.C. §3

of the FAA.6

          Plaintiff and Kuzenko-Smetana entered into a binding Arbitration Provision via

the Licensing Agreements that encompass the subject of this suit,7 namely a dispute

with the PT’s Men’s Club as to compensation and classification during their

relationship.8 The Arbitration Provision is binding and reciprocal, constituting

sufficient consideration for a valid contract.9 The agreement is signed by the parties,


          5
        Washington Mutual Finance Group, LLC v. Bailey, 364 F, 3d 260, 264 (5th Cir. 2004);
see also Aviles v. Russell Stover Candies, Inc., No. 02-60794 MPM, 2012 WL 5508378, at *3
(N.D. Tex. Nov. 13, 2012).
          6
        9 U.S.C. § 3 (requiring a court to compel arbitration if the court is satisfied that the issue
involved is referable to arbitration under and arbitration agreement).
          7
              See the Licensing Agreements, attached to the Williams Affidavit as Exhibits 1 and 2,
at ¶22.
          8
              See generally, the Complaint [ECF No. 1].
          9
       Goins v. Ryan’s Family Steakhouses, Inc., 181 Fed. Appx. 435, 437 (5th Cir. 2006).
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and though not required, it does give credence to the mutuality and knowledge of the

parties. The existence of a contract with an arbitration clause demonstrates agreement

among the parties to arbitrate.10

       1.        The Parties Agreed to Arbitrate the Dispute in Question.

       5.        Courts must first determine that the dispute in question is within the

arbitration provision before proceeding to the second stem of determining whether

it should compel arbitration.11 If, however, there is any doubt as to the scope of

arbitrable issues, such doubt should be resolved in favor of arbitration.12

       Plaintiff’s dispute pertains to her compensation, purported lack thereof, from

2019 to present, while she danced for a club commonly known as “PT’s Men’s Club,”

or stated differently, this lawsuit centers around “disputes during the relationship

between the parties” to the Licensing Agreements.13 Just as in the Norton v. Tucker

case heard in the Northern District of Texas, the Arbitration Provision states that “any



       10
        Norton v. Tucker Entertainment, LLC, No. 3:14-cv-01490-G, (ECF Doc. 15) *5 (N.D.
Tex. Oct. 8, 2014).
       11
          OPE International LP v. Chet Morrision Contractors, Incorporated, 258 F. 3d 443, 445
(5th Cir. 2001).
       12
            Moses H. Cone Mem. Hospital v. Mercury Const. Corp., 460 U.S. 1, 24 (1983).
       13
            See the Licensing Agreements, attached to the Williams Affidavit as Exhibits 1 and 2,
at ¶22.
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disputes that may have arisen at any time during the relationship between the

parties...[are] subject to binding arbitration pursuant to the Federal Arbitration Act.14

          2.         No Federal or Statute Renders FLSA Claims Non-Arbitrable.

          6.         Put simply, FLSA claims are subject to arbitration.15 There is a strong

federal policy favoring arbitration, which applies “so long as the prospective litigant

effectively may vindicate [his or her] statutory cause of action in the arbitral forum.”16

There is a strong presumption in favor of arbitration and a party seeking to invalidate

an arbitration agreement bears the burden of establishing its invalidity.”17

“Individuals seeking to avoid the enforcement of an arbitration agreement face a high

bar.”18


          14
         Compare the arbitration provision in para. 22 of the contract in Norton v. Tucker
Entertainment, LLC, No. 3:14-cv-01490-G (ECF Doc. 7, PageID 24) with the Arbitration
Provision of the Licensing Agreement, attached to the Williams Affidavit as Exhibits 1 and 2, at
¶22.
          15
          Carter, 362 F.3d at 297-98(granting employer’s motion to compel arbitration of
employees’ claims); Norton v. Tucker Entertainment, LLC, No. 3:14-cv-01490-G (ECF Doc. No.
15) *10-11 (citing Carter v. Countrywide Credit Industries, Inc., 362 F.3d 294, 297-98 (5th Cir.
2004) (citing Kuehner v. Dickinson & Company, 84 F. 3d 316, 319-20 (9th Cir. 1996))); see also
Garcia v. Bubbles Enters., Ltd., No. Civ.A.H-05-3l99 NF, 2006 WL 448845 at *3 (S.D. Tex.
Feb. 22, 2006) (granting employer’s motion to compel arbitration).
          16
        Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 33 (1991) (citing Mitsubishi
Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 627 (1985)).
          17
               ld.
          18
       ld.
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      Plaintiff cannot overcome the presumption and law in favor of enforcing the

Licensing Agreements and Arbitration Provision contained therein. No public policy,

rule nor statute leads to a result of not enforcing the unambiguous terms of the

parties’ agreement to arbitrate the very matters that are the subject of this dispute.

C.    Arbitration Must be on an Individual Basis, not as a Collective Action.

      Both the plain language of the Licensing Agreement and a binding Fifth Circuit

decision require that arbitration should be compelled on an individual basis and not

as a class.19 In Reed, the Fifth Circuit opined that “in light of the significant

disadvantages of class arbitration as discussed in both Stolt-Nielsen and Concepcion,

an arbitrator (or a court) should not conclude that parties - and defendants in

particular - consented to such a proceeding absent a contractual basis for doing so.”20

      Here, the plain language of paragraph 22 of each of the Licensing Agreements

shows the opposite; that there was no consent to any class action proceeding and that

the entertainers waived the right to participate in any class or collective action and




      19
           Reed, 681 F.3d 630, 630 (5th Cir. 2012).
      20
       Id. at 640.
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that arbitration should proceed on an individual basis.21 Accordingly, there is no

contractual basis for ordering class wide arbitration.

D.       Dismissal is Appropriate under Rule 12(b)(1).

         7.        Though the Court may undoubtedly exercise its discretion to stay the

matter under 9 U.S.C. §3, the Court is well within its authority under Rule 12(b)(1)

to dismiss claims that must be submitted to arbitration.22 There is no purpose in

retaining jurisdiction when any post-arbitration remedies sought by the parties will

entail a renewed consideration and adjudication of the merits, but merely a narrow

circumscribed review of the arbitrator’s award.23 Plaintiff can neither bring this case

in this forum, nor on behalf of anyone but herself. Accordingly, the dismissal of the

attempted class action is necessary. Out of efficiency, the Court should dismiss the

remainder of this case and allow the narrowed review of any arbitrator award to be

filed and presented at the appropriate time, as opposed to allowing this matter to

linger indefinitely.




         21
              See the Licensing Agreements at ¶22, attached to the Williams Affidavit as Exhibits 1
and 2.
         22
              Alford v. Dean Witter Reynolds, Inc., 975 F. 2d 1161, 1164 (5th Cir. 1992).
         23
       Id.
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                                 III. CONCLUSION

      8.       As the claims in this case, without question, fall into the Arbitration

Provisions of the Licensing Agreements, the FAA provides that the Court must

compel the parties to arbitration and the U.S. Supreme Court has emphasized that

there is no room for discretion on such matter. Moreover, in light of the inescapable

Class Action Waiver and fact that all claims being sent to arbitration results in there

being nothing for the Court to adjudicate on the merits, this case should be, in all

things dismissed.

                                     V. PRAYER

      WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court

GRANT this Motion, dismiss Plaintiff’s lawsuit and compel Plaintiff to pursue all

proper claims through arbitration or, in the alternative, dismiss the class action

allegations, compel arbitration and stay the remainder of the litigation. Defendant

further prays for any such other and further relief at law or in equity to which

Defendants would show themselves justly entitled or that the Court deems just and

appropriate.




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                                          Respectfully Submitted,

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                           CERTIFICATE OF SERVICE

       In accordance with Fed. R. Civ. P. 5(b)(2)(E) and (b)(3), I hereby certify that
a true and correct copy of the above and foregoing Defendant’s Motion to Dismiss
and/or Stay this Action and to Compel Arbitration Inclusive of Brief in Support was
served upon counsel of record for Plaintiff, Drew N. Herrmann, Herrmann Law,
PLLC, and Harold Lichten, Matthew Thomson, and Olena Savytska, Lichten & Liss-
Riordan, P.C., via electronic service on this 20th day of March, 2020. Notice of this
filing will be sent to all parties by operation of the court’s electronic filing system.

                                               /s/ Latrice E. Andrews
                                               Latrice E. Andrews




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